Case€ o-25-/5000-laS VOCl Filed OviléZizo

PURER elie mod etm Uri et [oth

United States Bankruptcy Court for the:

Eastern

Case number (/f known)

District of A/ EW vor, kK

(State)
Chapter 7

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

entered Os/l2i25 1t1icsi0s

. yA GIS ie 4 7
~DARARUE IL YL

te
ASTERN DISTRICT ¢
ts

HEW YOR

747)
J

C) Check if this is an
amended filing

06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1.

5. Debtor’s website (URL)

Debtor’s name

All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

Debtor’s federal Employer
Identification Number (EIN)

Debtor's address

Official Form 201

MOA Cowsu/4, 5 LLC.

Principal place of business

2303 Pit Slecet :

Mailing address, if different from principal place
of business

Number Street Number Street
P.O. Box
Seaford WY 11783
City State ZIP Code City State ZIP Code

MAS9AT

County

Location of principal assets, if different from
principal place of business

Number Street

City State ZIP Code

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 1

Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

Debtor MOR Coys Uv / tig y LLC

Name ~

Case number (F known)

6. Type of debtor 4 corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
QO) Partnership (excluding LLP)
C] Other. Specify:

A. Check one:
@ 7. Describe debtor’s business

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Ml single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

C Railroad (as defined in 11 U.S.C. § 101(44))

CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO Clearing Bank (as defined in 11 U.S.C. § 781(3))

Saipereerreoe «=F RA

B. Check all that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http ://www.uscourts. gov/four-digit-national-association-naics-codes .

8. Under which chapter of the Check one:

Bankruptcy Code is the
debtor filing? Pachapter 7

C) chapter 9

O) Chapter 11. Check all that apply:
A debtor who is a “small business

debtor’ must check the first sub- C} The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
box. A debtor as defined in aggregate noncontingent liquidated debts (excluding debts owed to insiders or

§ 1182(1) who elects to proceed affiliates) are less than $3,024,725. if this sub-box is selected, attach the most
under subchapter V of chapter 11 recent balance sheet, statement of operations, cash-flow statement, and federal
(whether or not the debtor is a income tax return or if any of these documents do not exist, follow the procedure in
“small business debtor”) must 11 U.S.C. § 1116(1)(B).

check the second sub-box. (J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate

noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Qha plan is being filed with this petition.

Q Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

Debtor MDA Cons tiids LLC,

9. Were prior bankruptcy cases Zhno
filed by or against the debtor
within the last 8 years? OC) Yes. District When Case number
MM/ DD/YYYY

Case number (if known)

If more than 2 cases, attach a -
separate list. District When Case number

MM/ DD/YYYY

10. Are any bankruptcy cases eno
pending or being filed by a

business partner or an C] Yes. Debtor Relationship

affiliate of the debtor? District Wen

List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this Check all that apply:

district?
ws Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LIA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave Eno
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check ail that apply.)
attention?

C) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Cd it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CI It needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy. produce, or securities-related
assets or other options).

QO) other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?

L) No

C) Yes. insurance agency

Contact name

Phone

pe Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

Debtor M DA Cow Ss u| 4, WG {LC 7

Name wW

Case number (if known)

13. Debtor’s estimation of Check one:

available funds

(] Funds will be available for distribution to unsecured creditors.

wa After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

31-49
14. Estimated number of 2) 50-99
creditors LJ 100-199
200-999
CJ $0-$50,000

15. Estimated assets © $50,001-$100,000

34 $100,001-$500,000
C} $500,001-$1 million

LJ $0-$50,000

() $50,001-$100,000
JS $100,001-$500,000
C) $500,001-$4 million

ee Request for Relief, Deciaration, and Signatures

16. Estimated liabilities

LJ 1,000-5,000
(J 5,001-10,000
CI 10,001-25,000

Q) $1,000,001-$10 million

©) $140,000,001-$50 million
CY $50,000,001-$100 million
C) $100,000,001-$500 million

CI $1,000,001-$10 mitlion

C) $10,000,001-$50 million
LJ $50,000,001-$100 million
CL] $1400,000,001-$500 mittion

L] 25,001-50,000
(J 50,001-100,000
() More than 100,000

CY $500,000,001-$1 billion

LI $4,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
L) More than $50 billion

QC) $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
(2 More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OF 13 2 o23

MM /DD /YYYY

x Oflu

Signature of authorized representative of debtor

Title preach

Mithrel lodasse

Printed name

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 4

Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

Debtor Case number of known),
Name
18. Signature of attorne (ALK LB
g y x (2 7 12? pate OF 47 2023
Signature of attorney for debtor MM /DD /YYYY

Michael W6A35O

Printed name

2303 Pine sterest

Firm name

reet

omen ford MY _ 11783

City State ZIP Code

Sie - 322-0887 Michael lo Basso. Sold@ Cua
Contact phone Email address 4 CoM
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

wow.nyeb.uscourts. gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): MDA Coyso ling Llc, CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of
either of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541 (a).]

NO ORDER BARRING DEBTOR FROM FILING A PETITION UNDER ANY CHAPTER IS IN EFFECT.
ONO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

UO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [if closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

¢ SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

e SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B8 - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “A/B” OF RELATED CASES:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): {If closed| Date of Closing:

CURRENT STATUS OF RELATED CASE:
, (Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

« SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A4/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

¢ SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

Case o-25-/s000-laS Vocl Filed Uyléizo Entered Ov/léic2s 112505

[OVER]
DISCLOSURE OF RELATED CASES (cont'd)
CASE NO.: 7 JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): _- [if closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 1064/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “A/B” OF RELATED CASES:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:
Lam admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that:

e The within bankruptcy case is not related to any case pending, or pending within the last eight years, except as indicated on this

form.
° ge Pss debtor, am currently not barred by any order of this court from filing for bankruptcy.

aE. 5 Beer? (ADA Gwsultisy LOC

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitivher

2305 vere Sy
Mailing Address of Debtor/Petitioner

ssptorl 0h N7EA

City, State, Zip Code

Email Address

5100-322 ~ O87

Area Code and Telephone Number

ed by the E.D.N.Y LBR {073-2 Statement may subject the debtor or any

Failure to fully and truthfully provide all info rmation requir
including without limitation conversion, the appointment of a trustee or

other petitioner and their attorney to appropriate sanctions,
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise

result.

Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

UNITED STATES BANKRUPTCY COURT
. EASTERN DISTRICT OF NEW YORK

x
In re: 5 Case No.
MDA covsulsivg |e. - Chapter 7
Debtor(s)
x
AFFIRMATION OF FILER(S) -

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: AN CRAEC LIA ASS oO
Address: 05 OS Vine Sd Salo vd LY UT§S
Email Address:

Phone Number: (S/6_) 322 - OSE7
Name of Debtor(s): MDA Cons allt ue i‘ he.

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

i | PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING:

- | DID. NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
Wt WAS NOT PAID.

J WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

Filer’s Signature

Dated: Og [23] ZOVS RAL MG

pees eee emer tag re ee ne Oe EE TEED
Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/l2éiz2s5 112505

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No.

Chapter 7

° md Cousulltug bho-

Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 09 Jr, /2008
GLb KO?

Debtor

Joint Debtor

f
Attorney for Debtor

USBC-44 Rev. 11/15

Case o-25-/so00-laS Vocl Filed Uyléizo Entered Ov/léiz2s 112505

HSBC Bank
452 5th Ave
New York, New York 10018

